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 4    Terry.Jackson.Esq@gmail.com
      Counsel for Defendant, MANUELLE ALKEINE
 5
 6                                 UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA
 8                                                   * * *
 9     UNITED STATES OF AMERICA,
10                                    Plaintiff,             Case No.: 2:14-CR-00328-KJD-NJK
11      -vs-                                                 STIPULATION TO EXTEND
12                                                           OBJECTIONS
       MANUELLE ALKEINE,                                          (First Request)
13                                    Defendant.
14
15
16             IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden, United
17    States Attorney, and Robert Knief, Assistant United States Attorney, counsel for the United Stated
18    of America, and Terrence M. Jackson, counsel for Manuelle Alkeine, that the Objections to
19    Magistrate Recommendation (dkt. 91) be extended one month from the presently set September 12,
20    2015, up to and including October 13, 2015.
21             The Stipulation is entered into for the following reasons:
22             1.     The client is not in custody and does not oppose the continuance;
23             2.     The additional time requested herein is not sought for purposes of delay, but merely
24    to allow counsel for the defendant sufficient time to receive and review the expedited transcripts of
25    the evidentiary hearings held on May 11, 2015, and August 3, 2015;
26             3.     Denial of this request for continuance would deny counsel for the defendant sufficient
27    time to effectively and thoroughly prepare and submit objections, taking into account the exercise
28    of due diligence;
               4.     Additionally, denial of this request for continuance could result in a miscarriage of
     Case
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 1    justice. The additional time requested by this stipulation is excludable in computing the time within
 2    which the trial herein must commence pursuant to the Speedy Trial Act, § 3161(h)(7)(A),
 3    considering the factors under Title 18, United States Code §§ 3161(h)(7)(B);
 4           5.      This is the first stipulation to extend objections.
 5
 6           DATED:          September 4, 2015
 7                                                                   DANIEL G. BOGDEN
 8                                                                   United States Attorney
 9
10    By:   /s/ Terrence M. Jackson                                  By: /s/ Robert Knief
11    TERRENCE M. JACKSON,                                           ROBERT KNIEF,
      Counsel for Manuelle Alkeine                                   Assistant United States Attorney
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     Case
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 1                                  UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3                                                     * * *
 4
 5     UNITED STATES OF AMERICA,

 6                                     Plaintiff,               Case No.: 2:14-CR-00328-KJD-NJK

 7      -vs-

 8     MANUELLE ALKEINE,                                        FINDINGS OF FACT, CONCLUSIONS
                                                                OF LAW, AND ORDER
 9                                     Defendant.

10
                                              FINDINGS OF FACT
11
               1. The client is not in custody and does not oppose the continuance;
12
               2. The additional time requested herein is not sought for purposes of delay, but merely
13
      to allow counsel for the defendant sufficient time receive and review the expedited transcripts of
14
      the evidentiary hearings held on May 11, 2015, and August 3, 2015;
15
               3. Denial of this request for continuance would deny counsel for the defendant sufficient
16
      time to effectively and thoroughly prepare and submit objections, taking into account the exercise
17
      of due diligence;
18
               4. Additionally, denial of this request for continuance could result in a miscarriage of
19
      justice. The additional time requested by this stipulation is excludable in computing the time
20
      within which the trial herein must commence pursuant to the Speedy Trial Act, § 3161(h)(7)(A),
21
      considering the factors under Title 18, United States Code §§ 3161(h)(7)(B);
22
               5. This is the first stipulation to extend objections.
23
               Based on the pending Stipulation of counsel, good cause appearing therefore, the Court
24
      finds that the ends of justice and judicial economy are best served by granting said continuance.
25
                                           CONCLUSIONS OF LAW
26
               The ends of justice served by granting said continuance outweigh the best interest of the
27
      public and the defendant in a speedy trial, since the failure to grant said continuance would be
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     Case
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 1    likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
 2    opportunity within which to be able to effectively and thoroughly prepare for trial, taking into
 3    account the exercise of due diligence.
 4           The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United
 5    States Code, §§ 3161(h)(1)(A), 3161(h)(7) and Title 18 United States Code, § 3161 (h)(7)(A),
 6    when considering the facts under Title 18, United States Code, §§ 3161(h)(7)(B) and
 7    3161(h)(7)(B)(iv).
 8
 9                                                  ORDER
10           IT IS THEREFORE ORDERED, that the Objections to Magistrate Recommendation
11    (dkt.91) be extended one month from the presently set September 12, 2015, up to and including
12    October 13, 2015.
13
14           DATED this 24th
                        ___ day of September, 2015.
15
16                                           ________________________________
                                             UNITED STATES DISTRICT JUDGE
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